Case 1:20-cv-03010-APM Document 557-10 Filed 03/13/23 Page 1 of 4
1/25/23, 8:57 PM    Case 1:20-cv-03010-APM   Document
                                         Yahoo Offers Android557-10     Filed
                                                              Search Widget,    03/13/23
                                                                             HTML5           Page
                                                                                   Upgrades For iOS 2 of 4




        Yahoo Offers Android Search Widget, HTML5
        Upgrades For iOS

        Though late to the Android party Yahoo has released Search,
        Mail and Messenger for Android. I downloaded Mail and
        Messenger — by using a 2d barcode scanner in my EVO off my
        iPad screen — but was unable to open Search to test-drive it
        before writing this. (See postscript below.) Yahoo has also
        improved its […]
        Though late to the Android party Yahoo has released Search, Mail and Messenger for Android I
        downloaded Mail and Messenger — by using a 2d barcode scanner in my EVO off my iPad screen —
        but was unable to open Search to test drive it before writing this (See postscript below ) Yahoo has
        also improved its mobile web experiences for the iPhone and iPod Touch via HTML5.




        Users can add Yahoo search to the home screen (as an Android Widget). It’s also voice-enabled.

        It’s not clear to me whether that voice search capability is provided by partner Vlingo (in which Yahoo
        is an investor) or whether it uses Google’s voice recognition baked into the OS itself. It would be
        highly ironic if Yahoo search on Android were powered by Google voice recognition.

read://https_searchengineland.com/?url=https%3A%2F%2Fsearchengineland.com%2Fyahoo-offers-android-search-app-html5-upgrades-for-ios-45542   1/3
1/25/23, 8:57 PM   Case 1:20-cv-03010-APM        Document
                                             Yahoo Offers Android557-10     Filed
                                                                  Search Widget,    03/13/23
                                                                                 HTML5           Page
                                                                                       Upgrades For iOS 3 of 4

        If you’d like to download any of these apps you can scan the barcodes below (or go into the Android
        Market).




        In general Yahoo’s mobile search experience is very good and Yahoo has the opportunity to make
        gains if it can truly “innovate around the UI and UX” as the company has promised.

        It will be interesting to see later what sort of usage Yahoo gets with Search on Android. Most Android
        devices, with a couple of narrow exceptions, are wedded to Google search. I would imagine however
        that there are many Android buyers who use Yahoo Mail and Messenger.

        [youtube]https://www.youtube.com/watch?v=RQhPw8le_o4&feature=player_embedded#![/youtube]

        Postscript: Not being an Android power user I was confused about how to install Yahoo Search. It
        appeared to be an app that wouldn’t launch on my EVO In fact, after speaking to Yahoo, I found out
        it’s a “widget” that you install on your homescreen.

        You download the “app” from the Android Market and then touch and hold the homescreen. Then
        select Yahoo Search from the widget menu (all the apps/widgets appear as a list) — and viola; it’s on
        the homescreen.

        Voice search is enabled by Google voice recognition technology on the device, but otherwise it’s all
        Yahoo. The Android Yahoo Search interface is very much like its iPhone UI. And in many respects it’s
        more “mobile-friendly” and pleasing — although that’s a matter of taste — than Google’s mobile UI.

        Opinions expressed in this article are those of the guest author and not necessarily Search Engine
        Land Staff authors are listed here




read://https_searchengineland.com/?url=https%3A%2F%2Fsearchengineland.com%2Fyahoo-offers-android-search-app-html5-upgrades-for-ios-45542   2/3
1/25/23, 8:57 PM    Case 1:20-cv-03010-APM   Document
                                         Yahoo Offers Android557-10     Filed
                                                              Search Widget,    03/13/23
                                                                             HTML5           Page
                                                                                   Upgrades For iOS 4 of 4




read://https_searchengineland.com/?url=https%3A%2F%2Fsearchengineland.com%2Fyahoo-offers-android-search-app-html5-upgrades-for-ios-45542   3/3
